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                                                                          5                         UNITED STATES DISTRICT COURT
                                                                          6                       NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              In Re: Cathode Ray Tube (CRT)      )         Case No. 07-5944 SC
                                                                          8   Antitrust Litigation               )         MDL No. 1917
                                                                                                                 )
                                                                          9   ___________________________________)         PRETRIAL ORDER NO. 1
                                                                                                                 )
                                                                         10   This Document Relates to:          )
                                                                                                                 )
                               For the Northern District of California




                                                                         11        ALL ACTIONS                   )
United States District Court




                                                                                                                 )
                                                                         12                                      )
                                                                         13
                                                                         14        On April 4, 2008, the Court conducted a status conference in
                                                                         15   this multidistrict litigation (“MDL”) proceeding.          After
                                                                         16   considering the materials submitted by the parties at the
                                                                         17   conference and good cause appearing, the Court hereby establishes
                                                                         18   the following pretrial procedures.
                                                                         19        PRACTICE AND PROCEDURE ORDER UPON TRANSFER PURSUANT TO §
                                                                                   1407(a) (REVISED)
                                                                         20
                                                                         21        1.   This order shall govern the practice and procedure in
                                                                         22   those actions transferred to this Court by the Judicial Panel on
                                                                         23   Multidistrict Litigation (MDL Panel) pursuant to its order of
                                                                         24   February 15, 2008, as well as all related actions originally filed
                                                                         25   in this Court or transferred or removed to this Court.            This order
                                                                         26   shall also govern the practice and procedure in any tag-along
                                                                         27   actions transferred to this Court by the MDL Panel pursuant to
                                                                         28   Rule 7.4 of the Rules of Procedure of the MDL Panel subsequent to
                                                                               Case 4:07-cv-05944-JST Document 230 Filed 04/04/08 Page 2 of 7



                                                                          1   the filing of the final transfer order by the Clerk of this Court
                                                                          2   and any related actions subsequently filed, transferred or removed
                                                                          3   to this Court.
                                                                          4        2.     The actions described in paragraph 1 of this Order are
                                                                          5   consolidated for pretrial purposes.
                                                                          6        ESTABLISHMENT OF MASTER DOCKET AND FILE
                                                                          7        3.     The files of all direct purchaser actions and indirect
                                                                          8   purchaser actions shall be maintained in the master file, Case No.
                                                                          9   C-07-5944 SC MDL No. 1917.      Every pleading filed in direct
                                                                         10   purchaser actions and indirect purchaser actions shall bear the
                               For the Northern District of California




                                                                         11   above caption.    When a pleading or paper is intended to be
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                                                                         12   applicable to all actions, the words “All Actions” shall appear
                                                                         13   immediately after the words “This Document Relates to:” in the
                                                                         14   caption above.    When a pleading or paper is intended to be
                                                                         15   applicable only to all direct purchaser actions, the words “All
                                                                         16   Direct Purchaser Actions” shall appear in the caption.            When a
                                                                         17   pleading or paper is intended to be applicable only to all
                                                                         18   indirect purchaser actions, the words ”All Indirect Purchaser
                                                                         19   Actions” shall appear in the caption.
                                                                         20        4.     All pleadings and submissions in these actions shall be
                                                                         21   e-filed both in the master docket and in the individual case
                                                                         22   docket(s) of any individual case(s) to which the submission
                                                                         23   pertains.    All submissions filed in these actions shall bear the
                                                                         24   identification “Case No. C-07-5944 SC MDL No. 1917,” and when such
                                                                         25   a submission relates to all of these actions, following “Case No.
                                                                         26   C-07-5944 SC MDL No. 1917," shall be the notation “ALL CASES.”             If
                                                                         27   a submission does not relate to all of these actions, the docket
                                                                         28                                         2
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                                                                          1   number of the individual action or actions assigned by the Clerk
                                                                          2   of the Court shall follow “Case No. C-07-5944 SC MDL No. 1917.”
                                                                          3   The chambers copy of each document e-filed in these cases must
                                                                          4   clearly indicate the docket number assigned by the electronic case
                                                                          5   filing system to each such document.
                                                                          6        APPEARANCES
                                                                          7        5.   Counsel who have not yet entered an appearance shall
                                                                          8   electronically file a Notice of Appearance in the master docket
                                                                          9   and in the individual case docket(s) of any individual case(s).
                                                                         10   Counsel who appeared in a transferor court prior to their case
                               For the Northern District of California




                                                                         11   being transferred to this Court need not enter an additional
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                                                                         12   appearance before this Court.
                                                                         13        6.   Attorneys admitted to practice and in good standing in
                                                                         14   any United States District Court are admitted pro hac vice in this
                                                                         15   litigation.   Pursuant to Rule 1.4 of the Rules of Procedure of the
                                                                         16   Judicial Panel on Multidistrict Litigation, association of local
                                                                         17   counsel is not required.
                                                                         18        COMMUNICATIONS WITH THE COURT AND COUNSEL
                                                                         19        7.   Unless otherwise ordered by the Court, all substantive
                                                                         20   communications with the Court shall be e-filed.
                                                                         21        8.   The Court recognizes that cooperation by and among
                                                                         22   plaintiffs’ counsel and by and among defendants’ counsel is
                                                                         23   essential for the orderly and expeditious resolution of this
                                                                         24   litigation.   The communication of information among and between
                                                                         25   plaintiffs’ counsel and among and between defendants’ counsel
                                                                         26   shall not be deemed a waiver of the attorney-client privilege or
                                                                         27   the protection afforded attorney work-product.          Nothing contained
                                                                         28                                         3
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                                                                          1   in this provision shall be construed to limit the rights of any
                                                                          2   party or counsel to assert the attorney-client privilege or
                                                                          3   attorney work-product doctrine.
                                                                          4        FILING AND SERVICE OF PAPERS AND PLEADINGS
                                                                          5        9.    These cases are subject to Electronic Case Filing
                                                                          6   (“ECF”), pursuant to General Order 45, Section VI, which requires
                                                                          7   that all documents in such a case be filed electronically.
                                                                          8   General Order, Section IV(A) provides that “[e]ach attorney of
                                                                          9   record is obligated to become an ECF User and be assigned a user
                                                                         10   ID and password for access to the system upon designation of the
                               For the Northern District of California




                                                                         11   action as being subject to ECF.” If he or she has not already done
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                                                                         12   so, counsel shall register forthwith as an ECF User and be issued
                                                                         13   an ECF User ID and password.      Forms and instructions can be found
                                                                         14   on the Court’s website at
                                                                         15   https://ecf.cand.uscourts.gov/cand/index.html.          All documents can
                                                                         16   be e-filed in the master file, Case No. C-07-5944 SC MDL No. 1917.
                                                                         17        10.    Papers that are filed electronically through the Court’s
                                                                         18   ECF system are deemed served on all parties as of the date of
                                                                         19   filing.    All other service of papers shall be governed by the
                                                                         20   Federal Rules of Civil Procedure unless otherwise agreed by the
                                                                         21   parties.
                                                                         22        11.    Permission to file briefs in excess of the page limits
                                                                         23   set forth in Rule 7 of the Local Rules will not be routinely
                                                                         24   granted in these cases.      Stipulations allowing oversized briefs
                                                                         25   will not be approved unless submitted at least five (5) court days
                                                                         26   before the first brief addressed in the stipulation is due.
                                                                         27        12.    All parties are to make best efforts to resolve
                                                                         28                                         4
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                                                                          1   scheduling and other procedural issues by conferring with opposing
                                                                          2   counsel in the case(s) before contacting the court.
                                                                          3        EVIDENCE PRESERVATION
                                                                          4        13.    All parties and their counsel are reminded of their duty
                                                                          5   to preserve evidence that may be relevant to this action.         The
                                                                          6   duty extends to documents, data and tangible things in the
                                                                          7   possession, custody and control of the parties to this action, and
                                                                          8   any employees, agents, contractors, carriers, bailees, or other
                                                                          9   non-parties who possess materials reasonably anticipated to be
                                                                         10   subject to discovery in this action.        “Documents, data, and
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                                                                         11   tangible things” shall be interpreted broadly to include writings,
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                                                                         12   records, files, correspondence, reports, memoranda, calendars,
                                                                         13   diaries, minutes, electronic messages, voicemail, e-mail,
                                                                         14   telephone message records or logs, computer and network activity
                                                                         15   logs, hard drives, backup data, removable computer storage media
                                                                         16   such as tapes, discs and cards, printouts, document image files,
                                                                         17   Web pages, databases, spreadsheets, software, books, ledgers,
                                                                         18   journals, orders, invoices, bills, vouchers, check statements,
                                                                         19   worksheets, summaries, compilations, computations, charts,
                                                                         20   diagrams, graphic presentations, drawings, films, charts, digital
                                                                         21   or chemical process photographs, video, phonographic, tape or
                                                                         22   digital recordings or transcripts thereof, drafts, jottings and
                                                                         23   notes, studies or drafts of studies or other similar such
                                                                         24   material.   Information that serves to identify, locate or link
                                                                         25   such material, such as file inventories, file folders, indices,
                                                                         26   and metadata, is also included in this definition.          Until the
                                                                         27   parties reach an agreement on a preservation plan or the Court
                                                                         28                                         5
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                                                                          1   orders otherwise, each party shall take reasonable steps to
                                                                          2   preserve all documents, data, and tangible things containing
                                                                          3   information potentially relevant to the subject matter of this
                                                                          4   litigation.   In addition, counsel shall exercise all reasonable
                                                                          5   efforts to identify and notify parties and non-parties of their
                                                                          6   duties, including employees of corporate or institutional parties,
                                                                          7   to the extent required by the Federal Rules of Civil Procedure.
                                                                          8         PROTECTIVE ORDER
                                                                          9         14.   The parties shall meet and confer regarding a protective
                                                                         10   order for this proceeding.      Within 30 days of the entry of an
                               For the Northern District of California




                                                                         11   Order appointing interim lead class counsel, the parties shall
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                                                                         12   present a stipulated protective order, or in the event a
                                                                         13   stipulation cannot be reached, their respective proposals.
                                                                         14         DISCLOSURES
                                                                         15         15.   Within 30 days of the entry of this Order, the parties
                                                                         16   shall complete a Rule 26(f) conference and shall make initial
                                                                         17   disclosures within 14 days thereafter.
                                                                         18         ALTERNATIVE DISPUTE RESOLUTION
                                                                         19         16.   Within 30 days of the entry of an Order appointing
                                                                         20   interim lead class counsel, the parties shall discuss the
                                                                         21   selection of an alternative dispute resolution process.
                                                                         22         FURTHER CASE MANAGEMENT CONFERENCE
                                                                         23         17.   The Court shall conduct a Status Conference on July 11,
                                                                         24   2008 at 10:00 A.M.     The parties shall electronically file a Joint
                                                                         25   Case Management Statement ten (10) court days prior thereto.
                                                                         26   ///
                                                                         27   ///
                                                                         28                                         6
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                                                                          1        APPLICABILITY OF ORDER
                                                                          2        18.   This Order shall apply to all actions subsequently filed
                                                                          3   in, or transferred to, this district that are related to this MDL
                                                                          4   proceeding.   Any party objecting to the application of this Order
                                                                          5   to a subsequently filed or transferred case shall file a motion
                                                                          6   for relief supported by good cause within 30 days of the case
                                                                          7   being added to the master docket.
                                                                          8
                                                                          9   DATED:   April 4, 2008
                                                                         10
                               For the Northern District of California




                                                                         11                                     ____________________________
United States District Court




                                                                                                                UNITED STATES DISTRICT JUDGE
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